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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :      Case No. 22-cr-100 (RBW)
       v.                                     :
                                              :
JACOB L. ZERKLE,                              :       April 5, 2023
                                              :
                Defendant.                    :

               MOTION TO CHANGE TIME OF PRETRIAL CONFERENCE

       The United States, by and through undersigned counsel, respectfully moves the Court to
change the time of the pretrial conference in this case, currently scheduled for 2:00 pm on May 5,
2023, and reschedule the pretrial conference for earlier in the day on May 5, 2023.
       The undersigned Assistant United States Attorney is scheduled to appear for sentencing in
another matter in this district, United States v. Chan, 21-cr-668, at the same time as the pretrial
conference in this case. Co-counsel for the Chan matter is not able to appear at that sentencing,
and defense counsel in that case is unable to adjust her schedule.
       The undersigned has conferred with defense counsel in this case, who has no objection to
moving the pretrial conference to earlier in the day on May 5, 2023. Defense counsel would object
to moving the pretrial conference to another day.
       Accordingly, the United States respectfully requests that the Court reschedule the pretrial
conference for the morning of May 5, 2023. In the alternative, if the Court is unable to reschedule
the pretrial conference for the morning of May 5, 2023, the undersigned would respectfully request
to be excused from attending the pretrial conference. Assistant United States Attorney J. Hutton
Marshall will represent the United States in any event.

                                                     Respectfully submitted,

                                                     MATTHEW M. GRAVES
                                                     United States Attorney
                                                     D.C. Bar No. 481052

                                              By:    /s/ Katherine E. Boyles
                                                     Katherine Boyles
                                                     Assistant United States Attorney
                                                     United States Attorney’s Office
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